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AO 136 (Rev. 10/13) Certificate of Good Standing



                                        UNITED STATES DISTRICT COURT
                                                                      for the
                                                       Eastern District of North Carolina


                                              CERTIFICATE OF GOOD STANDING




                                                          Peter A. Moore, Jr.
                                                                                                                  , Clerk of this Court,



certify that                              Geoffrey Ryan Willis                        , Bar #
                                                                                                                33004


was duly admitted to practice in this Court on                          07/10/2006               , and is in good standing as a member



of the Bar of this Court.



Dated at                                           Raleigh, NC                              on
                                                                                                             07/28/2023
                                                    (Location)                                                  (Date)




                          Peter A. Moore, Jr.
                                                                                'T^l^.:^^ JU^
                                   CLERK                                                           DEPUTY CLERK
